53 F.3d 341NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    UNITED STATES of America, Plaintiff-Appellee,v.Ayodele Oluwole POPOOLA, Defendant-Appellant.
    No. 94-10376.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 19, 1995.*Decided April 27, 1995.
    
      Before:  BROWNING, SNEED, and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Ayodele Popoola appeals his conviction following guilty pleas to executing a scheme to defraud a bank and fraudulent use of an unauthorized access device.  Pursuant to Anders v. California, 386 U.S. 738 (1967), Poopola's counsel filed a brief stating that she finds no meritorious issues for review and a motion to withdraw as counsel of record.  Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no meritorious issue for review.  Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    